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     Attorneys for Plaintiff
9
10                                 UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,           )                 No.: CR 05-555 CRB
                                         )
14         Plaintiff,                    )                 PARTIES’ STIPULATION AND
                                         )                 [PROPOSED] ORDER CONTINUING
15                                       )                 THE SENTENCING DATE
                                         )
16   RICARDO MANZO-RANGEL,               )
                                         )
17         Defendant.                    )
     ____________________________________)
18
19   The parties stipulate and agree, and the Court finds and holds, as follows:
20      1. The defendant was originally scheduled to be sentenced on June 21, 2006. However, at
21   both parties’ request, sentencing was rescheduled for July 19, 2006 at 10:00 a.m. in order to
22   provide the parties’ with an opportunity to further discuss a sentencing recommendation.
23      2. However, government counsel will be unavailable on July 19, 2006. Government counsel
24   anticipates that she will be unavailable for the entirety of July 19, 2006. As such, the parties are
25   requesting one more continuance of the sentencing date in this matter.
26      3. The parties respectfully request that the matter be calendared for August 23, 2006 for
27   sentencing at 10:00 a.m.
28

     STIPULATION AND PROPOSED ORDER
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1    SO STIPULATED.
2    DATED: 7/17/06                       Respectfully Submitted,
3
4
                                          _/s/______________________________
5                                         SUSAN R. JERICH
                                          Assistant United States Attorney
6
     DATED: 7/17/06
7
                                          _/s/_______________________________
8                                         MICHAEL STEPANIAN
                                          Counsel for Defendant
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                                                                          ISTRIC
10   PURSUANT TO STIPULATION, IT IS SO ORDERED.                      TES D      TC
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                                                          ED
     DATED: July 17, 2006                 __________________________________




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12                                        HON. CHARLES R. BREYER

                                                      UNIT
                                          Judge, United States T IS  S
                                                               DistrictO O
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                                                                    Judge Ch




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     STIPULATION AND PROPOSED ORDER
     CR 05-555 CRB                          2
